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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION


 GAMALIER RIVERA,                                 )
                                                  )            Case No.
               Plaintiff,                         )
                                                  )
               v.                                 )
                                                  )
 REYNALDO GUEVARA, GERI LYNN                      )
 YANOW, as special representative of the          )
 ESTATE OF ERNEST HALVORSEN,                      )
 ANTHONY RICCIO, ROBERT BIEBEL,                   )
 and the CITY OF CHICAGO,                         )
                                                  )
               Defendants.                        )          JURY TRIAL DEMANDED
                                                  )


                                         COMPLAINT

       NOW COMES Plaintiff, REYNALDO GUEVARA, GERI LYNN YANOW, as special

representative of the ESTATE OF ERNEST HALVORSEN, ANTHONY RICCIO, ROBERT

BIEBEL, and the CITY OF CHICAGO, states as follows:

                                       INTRODUCTION

       1.      Plaintiff Gamalier Rivera was only 22 years old when he was arrested,

prosecuted, and wrongly convicted of the 1996 shooting of Antonio Diaz and the murder of

Jesus Ramos.

       2.      Plaintiff had nothing to do with the murder. At all times since Defendants first

accused him, Plaintiff has maintained his innocence.

       3.      There was not one piece of physical evidence connecting Plaintiff to the Ramos

murder. He had no motive to commit the crime. In fact, there was never any reason to think he

had any involvement.
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       4.      Plaintiff’s arrest, prosecution, and conviction were based entirely on false

evidence manufactured by notorious Chicago Police Detective Reynaldo Guevara and the other

Defendants.

       5.      In order to secure Plaintiff’s wrongful prosecution and conviction, the

Defendants also suppressed evidence that would have shown Plaintiff was innocent, as well as

evidence that could have been used to undermine the testimony of the State’s witnesses.

       6.      Plaintiff is one of at least 39 men and women exonerated after being convicted

on murder charges arising in corrupt homicide investigations conducted by Defendant Guevara

and his fellow Area Five detectives and supervisors.

       7.      The Illinois Appellate Court has called Defendant Guevara “a malignant blight

on the Chicago Police Department and the judicial system.”

       8.      Cook County courts have found that Defendant Guevara “engaged in a pattern

and practice of intimidating, threatening, and influencing witnesses in prior homicide

investigations,” and that Defendant Guevara had told “bald-faced lies” during court testimony

and had “eliminated any possibility of [] being considered a credible witness in any

proceeding.”

       9.      In court proceedings, Defendants Guevara, his partner Halvorsen, and their

associates have pleaded their Fifth Amendment right not to incriminate themselves in response

to questions about their misconduct as police officers, and Defendant Guevara has specifically

pleaded his Fifth Amendment right not to incriminate himself on multiple occasions in response

to questions about his misconduct during as a police officer, including in connection to the

investigation that resulted in Plaintiff’s wrongful conviction.




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        10.     On August 9, 2022, having concluded that convictions obtained by Defendant

Guevara cannot stand consistent with due process, Illinois state prosecutors moved to vacate

the convictions of eight victims of Defendant Guevara in an unprecedented mass exoneration of

murder convictions.

        11.     Plaintiff was the 31st person whose conviction was dismissed based on

Guevara’s misconduct.

        12.     In March 2023, the Illinois courts granted Plaintiff a certificate of innocence.

        13.     Plaintiff now seeks justice for the harm that the Defendants have caused and

redress for the loss of liberty and the terrible hardship that he has endured and continues to

suffer as a result of the Defendants’ misconduct.


                                  JURISDICTION AND VENUE

        14.     This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to redress

the Defendants’ tortious conduct and their deprivation of Plaintiff’s rights secured by the U.S.

Constitution.

        15.     This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28 U.S.C. §

1331 and supplemental jurisdiction of his state-law claims pursuant to 28 U.S.C. § 1367.

        16.     Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district. The events and omissions giving rise to Plaintiff’s claims occurred within this judicial

district, including the investigation, prosecution, and trial resulting in Plaintiff’s conviction.


                                              PARTIES

        17.     Plaintiff Gamalier Rivera spent nearly 23 years wrongfully incarcerated for a

murder that he did not commit.



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       18.     At all times relevant to the events described in this Complaint, Defendants

Reynaldo Guevara, Ernest Halvorsen, Anthony Riccio, Robert Biebel, and other unknown law

enforcement officers were police officers in the Chicago Police Department acting under color

of law and within the scope of their employment for the City of Chicago.

       19.     Geri Lynn Yanow, the special representative for the Estate of Ernest Halvorsen,

deceased, is named as a Defendant in her capacity as Special Representative for the Estate of

Ernest Halvorsen, as successor in interest and to defend this action on behalf of Defendant

Ernest Halvorsen.

       20.     The City of Chicago is an Illinois municipal corporation that is or was the

employer of the above-named Defendants. Each of the Defendants named in this Complaint

acted during their investigation of the Ramos murder as agents or employees of the City of

Chicago. The City of Chicago is liable for all torts committed by the Defendants pursuant to the

doctrine of respondeat superior. Additionally, the City of Chicago is responsible for the

policies and practices of the Chicago Police Department.

       21.     Each and every individual Defendant, known and unknown, acted under color of

law and within the scope of his employment at all times relevant to this lawsuit. Each of the

individual Defendants is sued in his individual capacity unless otherwise noted.


                                             FACTS

                                           The Crime

       22.     On the night of April 22, 1996, Javier Cruz and Jesus Ramos were sitting in a

red Dodge Colt at approximately 11:30 p.m. in an alley near Grand Avenue and Karlov

Avenue.




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         23.     Antonio Diaz, Antonio’s wife Maria Diaz, and Richardini Lopez then arrived in

the alley in a red Cadillac and parked it behind the red Colt.

         24.     Lopez was the driver, Antonio Diaz was in the passenger seat, and Maria Diaz

was in the back seat. 1

         25.     Antonio and Cruz exited their respective vehicles. Antonio then approached

Cruz to purchase drugs from him. Cruz walked halfway back down the alley to retrieve the

drugs while Antonio stayed near the Dodge Colt.

         26.     As Cruz walked down the alley, a white four-door Chevy Blazer with tinted

windows drove through the alley.

         27.     As it drove, a man leaned out of the passenger-side window and yelled “Disciple

killer.” The same man then shot a firearm four to five times toward the Dodge Colt before the

car sped away.

         28.     Antonio Diaz and Ramos both sustained gunshot wounds.

         29.     Ramos was rushed to surgery in critical condition and later died during surgery.

Antonio Diaz was shot in the lower right abdomen and right thigh and survived.


                                        Initial Investigation

         30.     Javier Cruz, Antonio Diaz, Richardini Lopez, and Maria Diaz were the only

eyewitnesses to the shooting.

         31.     Given the circumstances of the shooting—occurring late at night, in a dark alley,

lasting just seconds, and with a shooter firing from a moving vehicle with tinted windows—the

eyewitnesses could not possibly identify the shooter.




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    They are referred to as Antonio and Maria in this complaint, given their common last name.
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        32.     Indeed, none of the eyewitnesses recognized the shooter as someone they knew.

None of the eyewitnesses could identify any distinguishing features of the shooter. None of the

eyewitnesses said they could identify the shooter if they saw him again. And when questioned

about what they saw, they could provide little to no descriptive information.

        33.     For example, Antonio Diaz spoke to responding officers at the hospital but

provided no description of the shooter.

        34.     Javier Cruz also gave no description whatsoever to the initial responding

detectives. Police specifically reported that Cruz “could add nothing further at that time to

assist in the investigation.”

        35.     Maria Diaz described ducking in the car as soon as she heard the shooting. She

told initial responding detectives that the shooter was wearing “dark clothing.” Maria could

give no further description.

        36.     Ramos commented to investigators before he died that he had an earlier

altercation with some Insane Unknowns—members of a Chicago gang—from Grand and

Karlov, and so he thought his shooter was an Insane Unknown (but he did not know the

shooter’s name).

        37.     Antonio Diaz spoke with the victim Ramos, who told Antonio before his death

that he believed the perpetrator was the same person who shot at him (Ramos) and Cruz earlier

that day in a separate incident.

        38.     The initial investigation therefore pointed to two potential perpetrators, neither

of which was Plaintiff.




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                  Defendants Develop Evidence Pointing to Other Suspects

       39.     One of Ramos’ brothers believed a higher-up of the Insane Unknowns, known as

“Butchie,” was responsible for the shooting.

       40.     Ramos’ other brother, whom police described as “legit,” told the police that

Ramos and Butchie had a “beef.”

       41.     Butchie was seen in his car near Grand and Karlov, near the area of the murder,

before the shooting took place.

       42.     A security officer for a nearby school confirmed that he saw Butchie with a few

others at the time, near the location where Ramos and Cruz were shot at earlier in the day.

Butchie then abruptly drove off, and the security guard heard gunshots.

       43.     Multiple reports confirm that Ramos and his brother were threatened and

targeted by members of the Insane Unknown on several occasions. Ramos himself told police

the day of the shooting that a member of the Insane Unknowns was in a car with a gun.

       44.     Defendant Riccio explicitly stated in his report that he suspected Butchie

ordered a “hit” on Ramos.

       45.     Defendants Guevara and Halvorsen showed a photo array of Insane Unknown

gang members to Richardini Lopez. The array included pictures of Butchie and his 18-year-old

brother Nicholas Gonzalez, also an Insane Unknown member.

       46.     According to Defendants, Lopez did not make an identification. There is no

explanation in the file for why, despite multiple accounts pointing toward Butchie, the photo

array was not shown to the other eyewitnesses.

       47.     The photo array shown to Lopez were never preserved nor documented.




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        48.    There is no record of whether a photo of Plaintiff was included among the

photos shown to Lopez, which would have been highly exculpatory.

        49.    In addition, police were informed that a 14-year-old named Valerio G. had

threatened Ramos and his brother.

        50.    Police even arrested that individual for unlawful use of a weapon near Grand

and Karlov.

        51.    Yet, there is no documentation of any photo arrays or lineups involving Valerio

G., or any interviews of this suspect, or any explanation for the absence of such information.

Defendants concealed all evidence related to this lead.


        Guevara and Halverson Join the Investigation and Make Plaintiff the Suspect

        52.    Defendants began actively working on the case on June 8, 1996, more than a

month after the Ramos shooting, when Officer Ruben Oliveras handed Defendants a photo of

Plaintiff.

        53.    Without basis, Defendants immediately decided to frame Plaintiff for Ramos’s

death, and they set about fabricating a case against Plaintiff.

        54.    Defendants fabricated identifications of Plaintiff to implicate him in the crime.

        55.    Plaintiff had been arrested the month before the crime on cannabis charges. In

connection with that arrest, Officer Oliveras had Plaintiff’s photo in his possession for a month

before giving it to Defendant Guevara.

        56.    Armed with Plaintiff’s photo, Defendant Guevara proceeded to manipulate

identification procedures to ensure Plaintiff was identified as the shooter.

        57.    Defendant Guevara provided no reason as to why he suspected Plaintiff and later

admitted that until this point he had only a “minimal description” of the perpetrator.


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       58.     Moreover, Defendants conducted identification procedures with witnesses who

had not seen the shooter at all.

       59.     Defendants first showed Lopez a gang book, from which Lopez identified 5 or 6

individuals who looked similar to the shooter.

       60.     Defendants left the room and then returned with 5 to 6 photos.

       61.     Defendant Guevara pressed him to identify one photo as a person who looked

like he could be the shooter.

       62.     After this identification procedure, Defendants gave Lopez the name Rivera,

Plaintiff’s last name, and Defendants said they knew it was him.

       63.     Defendants did not memorialize this identification procedure at any time. And

Defendants concealed that Lopez could not identify a single photo, but instead identified 5 to 6

photos of people that looked like the shooter.

       64.     Defendant Guevara then took Plaintiff’s photo and manufactured a suggestive

photo array centered on Rivera.

       65.     On June 10, 1996, Defendant Guevara went to Lopez’s house alone, bringing the

photo array he had constructed with him.

       66.     There was identifying information on the back of the six polaroid pictures in the

array, including on the photo of Plaintiff.

       67.     Through Defendant Guevara’s manipulation and coercion, including earlier

actions in which he told Lopez that the perpetrator was Rivera and singled him out, Guevara

was able to get Lopez to falsely identify Plaintiff as the shooter.

       68.     Plaintiff was arrested on June 17, 1996.




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        69.     On the day of his arrest, Plaintiff told Defendants that he was at home at the time

of the shooting and that he had three witnesses who could testify to it.

        70.     Defendants ignored Plaintiff and placed him in a lineup conducted by Defendant

Guevara and his partner, Defendant Halvorsen.

        71.     Again, based on Defendants’ manipulation and coercion, across multiple

documented and undocumented identification procedures, Defendants Guevara and Halvorsen

got Lopez to falsely identify Plaintiff in the lineup.

        72.     Lopez was not sure if the person Defendants steered him to pick was actually the

shooter, bur Defendants suppressed all evidence of Lopez’s uncertainty. Instead, they wrote

police reports making it appear as though Lopez had not exhibited any doubt in his

identification of Rivera.

        73.     Defendants also picked up Antonio Diaz, Maria Diaz, and Javier Cruz from the

Cook County Jail and took them to Area Five to view lineups in order to corroborate Lopez’s

fabricated identification.

        74.     None of these three witnesses could see the shooter, and could not provide any

physical description of the shooter when questioned shortly after the crime.

        75.     This is because, under the circumstances of the shooting, they could not have

possibly seen the shooter well enough, or for long enough, to make out a face and provide any

kind of reliable identification.

        76.     Indeed, while in a room at the police station, Antonio and Maria Diaz both told

Lopez that they had not seen the shooter.

        77.     Yet, Defendants managed to get Antonio, Maria and Cruz to all identify their

chosen suspect from lineups.



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          78.   Defendant Guevara was in the room with each of these three witnesses during

the line-ups, and through the use of manipulation and coercion, secured their false

identifications of Plaintiff.

          79.   In addition, although Defendants claim that Plaintiff got to choose his spot in the

lineup, in actuality Defendants told Plaintiff where to sit in each lineup.

          80.   Defendants also purposefully concealed the photo that was taken of the lineup

Maria viewed. This lineup photo would have provided evidence of Defendants’ suggestive and

manipulative tactics during the identification procedures.

          81.   After the lineup procedures, the witnesses were allowed to sit together and

discuss their identifications. Lopez, Antonio and Maria all told one another that they had doubts

about whether the person they had been steered to identify was the perpetrator.

          82.   Defendants never disclosed any of this exculpatory information to Plaintiff.

                     Defendants Intentionally Undermine Plaintiff’s Alibi

          83.   Following the lineups, Defendant Guevara fabricated a closing supplemental

report.

          84.   Defendant Guevara wrote falsely that Plaintiff had told Guevara that he had

never left his house from January 10, 1996 until the last week of May 1996.

          85.   In reality, Plaintiff had told Guevara that he and his family were not leaving

their house at night during this time period because they were in fear.

          86.   Consistent with a common practice used by Defendants Guevara and Halvorsen

in numerous cases, they purposefully manipulated Plaintiff’s statement to make his alibi appear

ludicrous and inconsistent, and therefore prevent him from relying on his alibi at trial.




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                       Plaintiff’s Wrongful Conviction and Imprisonment

          87.   As a result of the Defendants’ misconduct and based on the false evidence

described in this Complaint, Plaintiff was arrested, prosecuted, and convicted of murder.

          88.   Plaintiff’s counsel filed a motion to suppress the identifications, which was

denied.

          89.   At trial, Plaintiff’s counsel was prepared to present Plaintiff’s alibi through three

witnesses that he was at home at the time of the shooting. However, because Guevara falsified

Plaintiff’s alibi in the closing supplemental report, the defense counsel changed course and

chose not to present the alibi.

          90.   As discussed further below, it is now known that Guevara routinely fabricates

arrestees’ statements to sound ludicrous and inconsistent precisely to prevent those accused

from later presenting an alibi at trial.

          91.   Apart from the Defendants’ own false testimony, the case against Plaintiff rested

almost entirely on the four witnesses—Antonio and Maria Diaz, Lopez, and Cruz—who all

identified Plaintiff as the gunman.

          92.   Defendant Guevara participated in every aspect of the inculpatory evidence

against Plaintiff in this case, and that inculpatory evidence consisted entirely of witnesses

identifications from individuals who did not see the shooter, who initially gave only the vaguest

description of their perpetrator, and who only made identifications of Plaintiff nearly two

months after the crime during identification procedures conducted by Defendants.

          93.   Plaintiff was found guilty of all charges. The State sought the death penalty.




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       94.     In connection with his sentencing, Plaintiff proclaimed his innocence: “What

happened on the day of the Murder, I don’t know. All I know is that I’m convicted for

something I didn’t do.”

       95.     Plaintiff was spared the death penalty and was sentenced to 45 years in prison.

                                      Plaintiff’s Exoneration

       96.     Plaintiff fought hard to prove his innocence.

       97.     He has consistently and credibly maintained his innocence at every stage of his

criminal proceedings.

       98.     In court proceedings after Plaintiff’s wrongful conviction, Defendant Guevara

pleaded his Fifth Amendment right not to incriminate himself in response to questions about his

misconduct as a Chicago Police officer, and specifically about his misconduct during the

investigation of the murder of Jesus Ramos and Plaintiff’s criminal case.

       99.     When asked if Defendant Guevara had attempted to frame Plaintiff for the

Ramos homicide and manipulate Lopez’s identification, Defendant Guevara invoked his right

to remain silent.

       100.    On August 15, 2022, Plaintiff’s conviction was overturned.

       101.    The State promptly dismissed all charges.

       102.    At the time of his exoneration, Plaintiff had been fighting the false charges

against him in prison for more than half of his life.

       103.    In March 2023, the Illinois Courts granted Plaintiff a certificate of innocence.




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Chicago’s Policy and Practice of Wrongly Convicting Innocent Persons in Violation of the
                                     Constitution

        104.    The City of Chicago and the Chicago Police Department are responsible, by

virtue of their official policies, for inflicting miscarriages of justice in scores of criminal cases

like the one endured by Plaintiff.

        105.    Since the 1980s, no fewer than 100 cases have come to light in which Chicago

police officers fabricated false evidence and/or suppressed exculpatory evidence in order to

cause the convictions of innocent persons for serious crimes they did not commit.

        106.    These cases include many in which Chicago police officers used the same tactics

that Defendants employed against Plaintiff in this case, including but not limited to fabricating

evidence, concealing exculpatory evidence, coercing confessions and statements through

physical and psychological abuse, manipulating witnesses in order to influence eyewitness

identifications and testimony, and using other tactics to secure the arrest, prosecution, and

conviction of a person without probable cause and without regard for the person’s actual guilt

or innocence.

        107.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, routinely fabricated and manipulated identification procedures to

procure suspect identifications that they knew to be inaccurate.

        108.    At all relevant times, members of the Chicago Police Department, including the

Defendants in this action, systematically suppressed exculpatory and/or impeaching material by

intentionally secreting discoverable reports, memos, and other information. This concealed

material was kept in files that were maintained only at the Chicago Police Department and

never disclosed to the participants of the criminal justice system. As a matter of widespread

custom and practice, these clandestine files were withheld from the State’s Attorney’s Office


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and from criminal defendants, and they were routinely destroyed or hidden at the close of the

investigation rather than being preserved as part of the official file.

       109.    Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including the named Defendants, concealed

exculpatory evidence from Plaintiff.

       110.    The existence of this policy and practice of suppressing exculpatory and/or

impeaching material in clandestine files was established and corroborated in the cases of, inter

alia, Rivera v. Guevara, No. 12 C 4428 (N.D. Ill.), Fields v. City of Chicago, No. 10 C 1168

(N.D. Ill.), and Jones v. City of Chicago, No. 87 C 2536 (N.D. Ill.).

       111.    The policies and practices of file suppression at issue in Fields applied

throughout the timeframe from the 1980s through the 2000s, including at the time of the

investigation at issue here.

       112.    In addition, a set of clandestine files related to Area Five homicides—the same

Detective Division involved in this case—was found in the case of Rivera v. Guevara, No. 12 C

4428 (N.D. Ill.). Those files, for a period in the 1980s and 1990s, contained exculpatory and

impeaching evidence not turned over to criminal defendants.

       113.    The policy and practice of suppressing exculpatory and/or impeaching material

evidence was alive and well at all relevant times, including at the Area Five Detective Division

during the investigation at issue here.

       114.    In addition, the City of Chicago and the Chicago Police Department routinely

used illegal tactics, including torture, physical coercion, and psychological coercion, to extract

involuntary and false confessions and statements from suspects and witnesses. There are well

over 250 documented cases of Chicago Police officers using torture and coercion to illegally



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obtain confessions in homicide cases. The City had notice of this widespread practice of

procuring false and coerced confessions long before the events at issue in this case.

       115.     Moreover, the City of Chicago and the Chicago Police Department routinely

failed to investigate cases in which Chicago police detectives recommended charging an

innocent person with a serious crime, and no Chicago police officer has ever been disciplined

as a result of his misconduct in any of those cases.

       116.     Prior to and during the period in which Plaintiff was falsely charged and

convicted, the City of Chicago also operated a dysfunctional disciplinary system for Chicago

police officers accused of serious misconduct. The City almost never imposed significant

discipline against police officers accused of violating the civil and constitutional rights of

members of the public. Further, the disciplinary apparatus had no mechanism for identifying

police officers who were repeatedly accused of engaging in misconduct.

       117.     For instance, multiple witnesses have come forward with evidence that

Defendant Guevara was part of Miedzianowski's criminal enterprise. Defendant Guevara and

Miedzianowski worked together in gang crimes before Defendant Guevara became homicide

detective. Defendant Guevara used his status as a detective to advance the criminal drug

enterprise he participated in with Miedzianowski, and to pressure drug dealers that did not do

their bidding. Guevara's assistance included working with Miedzanowski to pin murders on

innocent men.

       118.     In the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill), a federal jury in

Chicago returned a Monell verdict against the City, finding that the City was responsible for

maintaining a code of silence and a deeply flawed disciplinary system that allowed Chicago

police officers (operating out of the very same police facilities as the Defendant Officers in this



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case) to operate a far-reaching, long-running criminal enterprise that included the subversion of

homicide investigations.

        119.    The Klipfel plaintiffs were two former federal agents from the Bureau of

Alcohol, Tobacco and Firearms who brought allegations of rampant criminal misconduct

among Gang Crimes officers to the attention of CPD officials. The evidence in that litigation

included: Philip Cline, an Area Commander and future Chief of Detectives and Superintendent,

personally filed two Internal Affairs complaints against Miedzianowski for tampering in

homicide investigations, that resulted in no discipline whatsoever; and that Raymond Risley, an

assistant deputy superintendent and head of Internal Affairs, not only knew about misconduct

in homicide cases but actively participated in efforts to subvert the disciplinary investigation

into Miedzianowski that was at the heart of the Klipfel litigation.

        120.    As a matter of both policy and practice, municipal policy makers and department

supervisors condoned and facilitated a code of silence within the Chicago Police Department,

which has been acknowledged by leaders of the Chicago Police Department and elected

officials in Chicago. In accordance with the code of silence, officers refused to report and

otherwise lied about misconduct committed by their colleagues, including the misconduct at

issue in this case.

        121.    As a result of the City of Chicago’s established practices, officers (including the

Defendants here) have come to believe that they may violate the civil rights of members of the

public and cause innocent persons to be charged with serious crimes without fear of adverse

circumstances. The practices that enable this belief include failing to track and identify police

officers who are repeatedly accused of serious misconduct, failing to investigate cases in which

the police are implicated in a wrongful charge or conviction, failing to discipline officers



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accused of serious misconduct, and facilitating a code of silence within the Chicago Police

Department. As a result of these policies and practices of the City of Chicago, members of the

Chicago Police Department act with impunity when they violate the constitutional and civil

rights of citizens.

        122.    This belief extends to the Defendants in this case. By way of example,

Defendant Guevara has a long history of engaging in the kind of investigative misconduct that

occurred in this case. There are dozens of known cases in which Guevara and other Chicago

police officers engaged in serious investigative misconduct similar to that described above.

They engaged in such misconduct because they had no reason to fear that the City of Chicago

and its Police Department would ever discipline them for doing so.

        123.    The City of Chicago and its Police Department also failed in the years prior to

the Plaintiff’s wrongful conviction to provide adequate training to Chicago police detectives

and other officers in many areas, including the following:

            a. The conduct of live lineup, photographic, and other identification procedures.

            b. The constitutional requirement to disclose exculpatory evidence, including how

                to identify such evidence and what steps to take when exculpatory evidence has

                been identified in order to ensure that the evidence is made part of the criminal

                proceeding.

            c. The need to refrain from physical and psychological abuse, and manipulative

                and coercive conduct, in relation to suspects and witnesses.

            d. The risks of wrongful conviction and the steps police officers should take to

                minimize risks.

            e. The risks of engaging in tunnel vision during investigation.



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           f. The need for full disclosure, candor, and openness on the part of all officers who

               participate in the police disciplinary process, both as witnesses and as accused

               officers, and the need to report misconduct committed by fellow officers.

       124.    The need for police officers to be trained in these areas was and remains

obvious. The City’s failure to train Chicago police officers as alleged in the preceding

paragraph caused Plaintiff’s wrongful conviction and his injuries.

       125.    The city’s failure to train, supervise, and discipline its officers, including the

Police Officer Defendants, condones, ratifies, and sanctions the kind of misconduct that the

Defendants committed against Plaintiff in this case. Constitutional violations such as those that

occurred in this case are encouraged and facilitated as a result of the City’s practices and de

facto policies, as alleged above.

       126.    The City of Chicago and final policymaking officials within the Chicago Police

Department failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated the unlawful

practices and ensured that no action would be taken (independent of the judicial process) to

remedy Plaintiff’s ongoing injuries.

       127.    The policies and practices described in the foregoing paragraphs were also

approved by the City of Chicago policymakers, who were deliberately indifferent to the

violations of constitutional rights described herein.

                 Defendant Guevara’s History of Framing Innocent Persons

       128.    As a result of the policies and practices of the Chicago Police Department,

described above, Defendant Guevara has framed dozens of other innocent men and women




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over the span of two decades. Like Plaintiff, these men and women have lodged independent

accusations of similar misconduct against Defendant Guevara.

       129.    As of the filing of this complaint, 39 men and women have had their convictions

thrown out because of Defendant Guevara’s misconduct. They are Jacques Rivera, Juan

Johnson, Jose Montanez, Armando Serrano, Jorge Pacheco, Roberto Almodovar, William

Negron, Jose Maysonet, Angel Rodriguez, Santos Flores, Arturo DeLeon-Reyes, Gabriel

Solache, Ariel Gomez, Xavier Arcos, Ricardo Rodriguez, Robert Bouto, Thomas Sierra,

Geraldo Iglesias, Demetrius Johnson, David Gecht, Juan Hernandez, Rosendo Hernandez, Ray

Munoz, David Lugo, Carlos Andino, Daniel Rodriguez, Jaime Rios, Jose Cruz, Marilyn

Mulero, Nelson Gonzalez, Johnny Flores, Adolfo Rosario, Eruby Abrego, Jeremiah Cain,

Edwin Davila, Alfredo Gonzalez, Gamalier Rivera, Madeline Mendoza, and John Martinez.

These men and women served hundreds of years in prison for crimes they did not commit.

       130.    Defendant Guevara has a long history of engaging in precisely the kind of

investigative misconduct that occurred in this case, including obtaining false eyewitness

identifications through manipulated identification procedures, manipulating witnesses,

fabricating evidence, suppressing exculpatory evidence, and coercing false confessions and

false statements from suspects and witnesses, using physical and psychological violence, all in

the course of maliciously prosecuting innocent persons. In addition to the cases in which

individuals have been exonerated, there are dozens of other identified cases in which Defendant

Guevara engaged in serious investigative misconduct.

       131.    Given this extensive history of misconduct and the City of Chicago’s failure to

meaningfully supervise or discipline Guevara and others, it is apparent that Guevara engaged in




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such misconduct because he had every reason to believe that the City of Chicago and its Police

Department condoned his behavior.

       132.    Repeatedly, Defendant Guevara has invoked his Fifth Amendment right to not

answer questions about allegations against him because truthful responses could subject him to

criminal liability. The allegations Defendant Guevara has refused to respond to include

allegations that he has manipulated dozens of witnesses to provide false identifications, he has

fabricated false evidence, he has suppressed exculpatory evidence, including documentary

evidence, he has tortured and abused suspects and witnesses and has coerced false statements

from them, as well as every single instance of misconduct detailed below.

       133.    A few examples of Defendant Guevara’s misconduct include:

       a.      Bill Dorsch is a former Chicago police detective. While serving with the Chicago

               Police Department, Dorsch was assigned to investigate a murder. Several months

               after the murder occurred, Defendant Guevara brought to the police station two

               juveniles purporting to have witnessed a shooting and recorded the license place

               of the shooter. Based on the information provided, Detective Dorsch created a

               photo array for the juveniles in an attempt to identify the shooter. While the first

               juvenile was viewing the photo array, and before he identified any of the

               photographs, Defendant Guevara pointed to the suspect’s photo and told the

               juvenile “That’s him.” The juvenile then agreed with Guevara, identifying the

               flagged individual as the shooter. Following this, Dorsch directed Defendant

               Guevara to leave the room and had the other juvenile view the same photo array;

               this juvenile was unable to make any identification. Based on the first juvenile’s

               identification, the suspect was charged with murder. Subsequently, Dorsch spoke



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        to the two juveniles outside of Defendant Guevara’s presence. The juveniles

        admitted that they were paid to falsely claim that the suspect was the person

        responsible for the shooting. After prosecutors spoke to the two juveniles, the

        suspect was released.

  b.    Defendant Guevara’s activities have drawn the interest of federal law enforcement

        officers. In 2001, the FBI authored a special report detailing the criminal activity

        of Chicago police officer Joseph Miedzianowski and his associates, including

        Defendant Guevara. The report details that Defendant Guevara, while acting in

        his capacity as a police officer, would apprehend drug and gun dealers and then

        allow them to “buy their way of trouble.” According to the report, Guevara also

        took bribes to alter both positive and negative lineups of murder suspects. Finally,

        the report states that Guevara, using an attorney as a conduit, would receive cash

        in exchange for the ultimate dismissal of murder cases he investigated.

  c.    In 1989, Defendant Guevara coerced Samuel Perez into falsely identifying Juan

        Johnson as the person who killed Ricardo Fernandez. Defendant Guevara made

        Perez get inside his car, showed Perez a photo of Juan Johnson, and told Perez

        that he wanted Johnson to take the blame for the murder. Unsurprisingly, Perez

        went on to falsely identify Johnson as one of the murderers.

  d.    In 1989, Defendant Guevara also coerced Salvador Ortiz into making a false

        identification of Juan Johnson, which he later recanted.

  e.    Juan Johnson was exonerated and brought suit against Defendant Guevara. A

        federal jury found that Guevara framed Johnson for murder and awarded Johnson

        $21 million in damages.



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  f.    In 1988, Defendant Guevara caused 12-year-old Orlando Lopez to falsely identify

        Jacques Rivera as the person who shot Felix Valentin. As a result, Rivera was

        convicted of the Valentin murder. In 2011, Lopez testified at an evidentiary

        hearing that he knew Rivera was the “wrong guy” when he made the

        identification. As a result, Rivera received a new trial. Ultimately, the State’s

        Attorney dropped all charges and Rivera was granted a certificate of innocence.

  g.    Also during the Felix Valentin shooting investigation, Defendant Guevara falsely

        claimed that the victim, Valentin, identified Jacques Rivera as his shooter before

        he died. Defendant Guevara reported to have obtained this identification at a time

        when the victim was in a medically induced coma, unresponsive to any stimuli,

        and laying in a bed that was in constant motion to prevent his lungs from filling

        with fluid and killing him. Valentin could not possibly have provided the

        information that Defendant Guevara attributed to him.

  h.    After Jacques Rivera’s exoneration, he brought suit against Defendant Guevara. A

        federal jury found that Guevara had violated Rivera’s civil rights and awarded

        Rivera $17 million in damages, as well as $175,000 in punitive damages against

        Defendant Guevara, his partner Steve Gawrys, and his supervisor Ed Mingey.

  i.    In 1989, Defendant Guevara coerced Virgilio Muniz into making a false

        identification by repeatedly threatening Muniz, saying that if Muniz did not

        identify Manuel Rivera as the murderer, Muniz would “go down for the murder.”

  j.    In 1989, Defendant Guevara coerced Virgilio Calderon Muniz (unrelated to

        Virgilio Muniz, described in the above paragraph) into making a false




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        identification by telling him who to identify and making a veiled threat as to what

        would happen if he did not comply.

  k.    In 1991, Defendant Guevara coerced Wilfredo Rosario into making a false

        identification and giving false testimony before the grand jury. Guevara

        threatened that if Rosario did not identify Xavier Arcos as the murderer, Rosario

        would be “pinned” for the murder. Guevara fed Rosario details of the crime, such

        as the number of shots fired, the type of vehicle used in the crime, and the

        participants in the crime. Rosario recanted his identification of Arcos at trial.

        Though Arcos was still found guilty of murder by a jury, the appellate court

        overturned the conviction based on the lack of sufficient evidence.

  l.    In 1991, Defendant Guevara told Efrain and Julio Sanchez to pick David Colon

        out of a lineup. As a result, these men falsely accused Colon of committing a

        murder, but later came forward to recant and shed light on Defendant Guevara’s

        misconduct.

  m.    In 1993, Defendant Guevara coerced an identification from Carl Richmond with

        threats, saying that he could make Richmond’s life very uncomfortable if

        Richmond did not identify Robert Bouto as the murderer of one of Richmond’s

        friends. Richmond, who was familiar with Guevara’s tactics, believed that

        Guevara would honor this threat.

  n.    In 1995, Defendant Guevara arrested Edwin Davila and, in an attempt to coerce a

        confession, chained Davila to the wall of an interrogation room and told him that

        he was going to frame him for murder. After Davila maintained that he was

        uninvolved, Guevara forced Davila to participate in a lineup in which two



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        witnesses identified Davila as the perpetrator, despite that each of those witnesses

        previously told the police that they had not been able to see the shooter.

  o.    In 1995, Defendant Guevara coerced Evelyn Diaz into making a false

        identification and providing false testimony to the Grand Jury by threatening Diaz

        that, if she did not identify Luis Serrano as the shooter, her children would be

        taken away by the Department of Children and Family Services.

  p.    In 1995, Defendant Guevara told Luis Figueroa to falsely identify Angel Diaz as

        the perpetrator even though Figueroa did not see anything. Figueroa identified

        Diaz but recanted his identification at trial.

  q.    In 1995, Defendant Guevara coerced Gloria Ortiz Bordoy into making a false

        statement and testifying falsely against Santos Flores at trial. During Ortiz

        Bordoy’s six-to-eight hour interrogation, Guevara yelled in her face, threatened

        that her children would be taken by the Department of Children and Family

        Services, called her “the B word,” and “raised his hand,” saying that he “felt like

        smacking” her. Finally, without reading its contents, Ortiz Bordoy signed a

        statement that the detectives wrote out for her because she just wanted to “get out

        of there.”

  r.    In 1995, Defendant Guevara coerced Rodolfo Zaragoza, who was a victim and an

        eyewitness to a crime, into making a false identification and providing false

        testimony. Zaragoza was intimidated by Guevara and identified Ricardo

        Rodriguez as the offender because Guevara told him that Rodriguez was the

        shooter.




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  s.    In 1995, Defendant Guevara told Jose Melendez to falsely identify Thomas Sierra

        as the shooter of Noel Andujar, even though Melendez had not seen the shooter

        and told Defendant Guevara as much. In addition, Defendant Guevara wrote false

        reports saying that Jose Melendez and Alberto Rodriguez had identified a car as

        the one used in the Andujar shooting, when in fact both men had told Defendant

        Guevara that the car in question was not the one used in the shooting.

  t.    In 1996, Defendant Guevara coerced Maria Rivera into making a false

        identification by unzipping his pants and propositioning her. Rivera later told the

        prosecutor that she had falsely identified an individual in a lineup at Guevara’s

        direction. The prosecution abandoned murder charges against that individual.

  u.    In 1997, Defendant Guevara coerced Robert Ruiz into making a false

        identification. Guevara detained Ruiz repeatedly over the course of a ten-day

        period, locking him in an interrogation room without food, water, or a bathroom.

        Though Ruiz kept telling Guevara that he had not seen the shooter or the driver

        involved in the crime, Guevara told Ruiz whom to identify and what to say in his

        statement. Ruiz finally implicated Freddy and Concepcion Santiago in the murder

        because Ruiz believed that Guevara would continue to harass him until he

        changed his story. Ruiz recanted his identification at trial, and the judge found

        Freddy and Concepcion Santiago not guilty. The trial judge found it disturbing

        that Guevara was the lead detective in the case because the victim was Guevara’s

        nephew.

  v.    In November 2001, Defendant Guevara’s girlfriend, Judith Martinez, attended a

        trial in which Guevara was testifying and observed the testimony of trial



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        witnesses. She then conferred with Guevara, even though the Court had ordered

        for all witnesses to be excluded from the courtroom to prevent witness collusion.

  w.    In 2011, the First District Appellate Court granted Tony Gonzalez a post-

        conviction hearing based on evidence that Defendant Guevara conducted an

        unduly suggestive lineup. In this instance, Guevara had concocted a photo array in

        which Gonzalez’s photo was the only one that stood out from the rest.

  x.    In 1982, Defendant Guevara and another officer arrested and physically assaulted

        Annie Turner for smoking on a bus. Guevara called her a “bitch” and pushed her

        out of the back door of the bus. He twisted her arm, threatened to “snap” it, and

        handcuffed her so tightly that her skin broke. He also hit her across the face with a

        metal bracelet he was wearing and called her a “nigger bitch.” Turner sought

        medical treatment and filed a complaint with the Chicago Police Department’s

        Office of Professional Standards (OPS).

  y.    In 1982, Defendant Guevara and three other officers broke through Almarie

        Lloyd’s locked front door and conducted a warrantless search of her home. When

        Lloyd asked who they were, she was told to shut up. The officers terrified Lloyd,

        her brother, and her two children, and left the home in shambles. Lloyd filed a

        complaint with OPS the next day.

  z.    In 1983, Defendant Guevara and other officers forcibly removed Leshurn Hunt

        from his home and handcuffed him to a ring in the wall at the police station where

        he was beaten about the head, face, and body until he confessed to murder and

        robbery charges. Hunt was detained for approximately 23 hours and deprived of

        food, water, and sleep until after he confessed. Hunt sought medical treatment for



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        his injuries and filed a complaint with the Office of Professional Standards.

        Witnesses who saw Hunt while in custody corroborated his claims that the Area

        Five police beat him. The criminal court judge suppressed Hunt’s confession, and

        a jury returned a favorable verdict in a related civil rights action against the City

        of Chicago on Hunt’s claim of excessive detention.

  aa.   In 1984, Defendant Guevara and other officers physically assaulted Graciela

        Flores and her 13-year old sister, Ana, during a search of their home. During the

        search, officers did not identify themselves as police. Guevara repeatedly slapped

        Graciela, called her a “bitch,” and pulled her hair. As a result of this incident,

        Graciela’s arm was put in a sling and she spent one week in the hospital.

  bb.   In 1985, Defendant Guevara attempted to coerce a false statement from Reynaldo

        Munoz. Guevara handcuffed Munoz and put him in the back of a squad car. When

        Munoz denied any knowledge of the incident Guevara was asking about, Guevara

        repeatedly hit him in the mouth with his fist. Guevara then took Munoz to rival

        gang territory where he allowed rival gang members to spit on Munoz and beat

        Munoz about the head.

  cc.   In 1986, Defendant Guevara threw Rafael Garcia against a car, struck him in the

        face several times, kicked him, and hit him in the head. Garcia filed a complaint

        with OPS. Although Guevara denied the charges, Garcia’s complaints were

        corroborated by physical evidence, as Garcia was treated at the hospital for

        lacerations to the head. After an investigation into the incident, OPS found that

        Guevara had lied about the incident and recommended that Guevara be suspended

        for two days.



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  dd.   In 1986, Defendant Guevara and two other officers coerced a confession from

        Daniel Pena by beating him about the face and ribs with their hands and about the

        groin and thighs with flashlights. Pena was taken to see a doctor where he

        complained about being beaten by the police. The doctor found bruising to Pena’s

        legs and abrasions and lacerations to Pena’s nose. Family members corroborated

        Pena’s claims that he had been beaten while in police custody.

  ee.   In 1986, Defendant Guevara pulled over Melvin Warren because Warren cut him

        off while driving westbound on Augusta Boulevard. Guevara called Warren a

        “nigger dog” and “threatened to tear [Warren’s] head off.” Guevara hit Warren in

        the face with a closed fist and then forced him down into the front seat of his car

        and began to choke him. Two eyewitnesses confirmed that Guevara initiated the

        beating. In response to this incident, Warren sought medical treatment and filed a

        complaint with OPS. OPS sustained Warren’s allegations that Guevara had

        physically and verbally assaulted him and recommended that Guevara be

        reprimanded.

  ff.   In 1989, Defendant Guevara coerced a false confession from Victor Vera by

        transporting him to rival gang territory and threatening to release him unless he

        confessed to the murder of Edwin Castaneda. Fearing for his life, Vera agreed to

        falsely confess to a crime that he had nothing to do with.

  gg.   In 1991, Defendant Guevara coerced David Rivera into signing a confession for

        murder by intimidation, threats, and inducements. Guevara told Rivera that if he

        confessed, he would serve seven years in prison; if he did not confess, he would




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        be sent away for fifty years. Guevara then promised Rivera that if signed a

        statement, he could go home.

  hh.   In 1992, Defendant Guevara engaged in misconduct when he interrogated

        Jacqueline Montanez without a youth officer present. The appellate court reversed

        and remanded Ms. Montanez’s conviction for murder, nothing that “not only was

        the defendant interrogated before having an opportunity to confer with a

        concerned adult, but, worse, any opportunity to do so was effectively frustrated by

        police.”

  ii.   In 1993, Defendant Guevara arrested 15-year-old Eliezar Cruzado and threatened

        him with life imprisonment if Cruzado did not make a statement implicating

        himself in a murder. Guevara also told Cruzado that he could go home and see his

        family again, but only if he agreed to make a statement. At the time, Cruzado had

        a limited ability to read and write.

  jj.   In 1993, Defendant Guevara used physical force and threats to coerce a false

        confession from Adolfo Frias-Munoz. Over the course of the two-day

        interrogation, Frias-Munoz was handcuffed to a ring on the wall of the

        interrogation room, hit in the face with an open hand by Defendant Guevara, and

        beaten by two other officers. Though isolated in a locked interrogation room,

        Frias-Munoz could hear his wife screaming and his son crying in another room.

        Guevara threatened Frias-Munoz that if he did not confess, his wife would go to

        prison and his children would be taken away. Frias-Munoz, who did not speak

        English, agreed to give a statement to an Assistant State’s Attorney. Frias-Munoz

        spoke in Spanish and Guevara translated the statement so that the prosecutor



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        could write the statement in English. Frias-Munoz then signed a statement that he

        could not read.

  kk.   In 1993, Defendant Guevara physically abused and threatened Francisco Vicente

        into providing false statements implicating Geraldo Iglesias in a murder. Vicente

        claimed that Iglesias spontaneously confessed to him that he was guilty of the

        crime for which Guevara had arrested him. Vicente has since testified that his

        statements were false and that Defendant Guevara and his colleagues beat him,

        threatened him, and fed him facts to ensure that he told their story.

  ll.   In 1994, Defendant Guevara, after 14 hours of interrogation, coerced a confession

        from Adrian Duta by hitting him in the face with an open palm, punching him in

        the stomach, and telling him he could go home if he signed a statement. When

        Duta’s father came to see Duta at the station house, Duta was exhausted and

        crying. Duta repeatedly said that he did not know what he had signed and had

        only signed the document so he could go home. Duta complained to his father of

        being struck in the head and stomach by Guevara.

  mm.   In 1995, Defendants Guevara and Halvorsen coerced a confession from 17-year-

        old Santos Flores after handcuffing him to the wall of a locked interview room

        and refusing his requests for an attorney. During the course of the 11-hour

        interrogation, Guevara yelled at him, slapped him numerous times on the side of

        his head, and told him that, if he did not confess, he would never see the light of

        day. Flores eventually gave a statement to the police indicating his involvement in

        the crime. Flores’ statement was ruled inadmissible on appeal on the grounds that

        it was elicited in violation of Miranda.



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  nn.   In 1997, Defendant Guevara coerced a false confession from Voytek Dembski by

        beating him while he was chained to a wall in a locked interrogation room.

        Dembski, a Polish national who did not speak English, was interrogated by

        Guevara without Miranda warnings, without notification to the Polish consulate,

        and without a Polish language interpreter. Dembski could not read the statement

        he eventually signed as it was written in English.

  oo.   In 1997, Defendant Guevara used threats and physical force against Ariel Gomez,

        Paul Yalda, and several of their co-defendants to try to get them to sign false

        statements incriminating Gomez in the shooting of Concepcion Diaz. Guevara

        also used pressure and threats to try to force three eyewitnesses, Ruth Antonetty,

        Debbie Daniels and Maria Castro, to falsely identify Ariel Gomez as the shooter

        even after they informed Guevara that they could not identify him as the shooter.

  pp.   In 1998, Defendant Guevara repeatedly hit Rosauro Mejia in an attempt to coerce

        a confession from him. Mejia never confessed and was finally released after being

        held in custody for three days.

  qq.   In 1998, Defendant Guevara repeatedly pulled Adriana Mejia’s hair and struck

        her once on the back of her neck while she was interrogated. She asserts that

        Guevara never took an accurate statement from her, despite that she did have real

        knowledge of the crime he was questioning her about.

  rr.   In 1998, Defendant Guevara repeatedly threatened and beat Arturo DeLeon-Reyes

        in order to coerce DeLeon-Reyes into giving an incriminating statement. After

        two days of isolation and interrogation, DeLeon-Reyes provided a false statement

        implicating himself in a murder in which he was not involved.



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  ss.   In 1998, Defendant Guevara repeatedly struck Gabriel Solache on the left side of

        his head and in the stomach while Solache was chained to the wall of a locked

        interrogation room. After 40 hours of interrogation, Solache gave a false

        statement so that the beating would stop. Solache sought medical treatment and

        sustained permanent hearing loss to his left ear.

  tt.   In 1999, Defendant Guevara and his colleagues repeatedly punched David Gecht

        in the stomach and back and struck him during an interrogation. After this

        prolonged abuse, Gecht told Guevara and the other officers he would do

        “whatever they wanted,” and adopted a fabricated statement, fed to him by

        Guevara, confessing to a shooting of which he had no knowledge.

  uu.   In addition, Guevara threatened Gecht’s girlfriend, Colleen Miller, telling her that

        she would be arrested and that the child she was expecting would be born in

        prison and then taken from her if she did not cooperate with them. Guevara used

        Miller’s fear for herself and her unborn child to extract a fabricated statement

        from her implicating Gecht in the shooting.

  vv.   In 1991, Defendant Guevara framed Demetrius Johnson for killing Edwin Fred.

        Guevara suppressed a lineup report documenting that a key eyewitness had

        identified a different person as the perpetrator in a lineup, and he fabricated a

        false police report to make it appear as if that identification had never occurred. In

        addition, to support his case against Johnson, Guevara manipulated and fabricated

        eyewitness identifications of Johnson as the shooter from witnesses Rosa Burgos,

        Ricardo Burgos, and Elba Burgos.




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       134.    Defendant Guevara never received discipline from the City of Chicago or the

Chicago Police Department for any of the conduct set out above.

       135.    In fact, the City of Chicago failed to supervise or discipline its police officers,

including Defendants Guevara and the other Defendants. Defendants engaged in the

misconduct set forth in this complaint because they knew that the City of Chicago and its

Police Department tolerated and condoned such conduct.

                                        COUNT I
                              42 U.S.C. § 1983 – Due Process
                                (Fourteenth Amendment)

       136.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       137.    As described in detail above, the Defendants while acting individually, jointly,

and in conspiracy with one another, as well as under color of law and within the scope of their

employment, deprived Plaintiff of his constitutional right to a fair trial and his right not to be

wrongfully convicted and imprisoned.

       138.    In the manner described more fully above, the Defendants fabricated witness

statements falsely implicating Plaintiff in the crime.

       139.    The Defendants knew this evidence was false.

       140.    The Defendants obtained Plaintiff’s conviction using this false evidence, and

they failed to correct fabricated evidence that they knew to be false when it was used against

Plaintiff during his criminal case.

       141.    In addition, the Defendants deliberately withheld exculpatory evidence from

state prosecutors, Plaintiff, and Plaintiff’s criminal defense attorneys, including evidence that

that Defendants had manufactured false identifications of Plaintiff, thereby misleading and

misdirecting the criminal prosecution of Plaintiff.



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       142.    In addition, based upon information and belief, the Defendants concealed,

fabricated, and destroyed additional evidence that is not yet known to Plaintiff.

       143.    Defendants also procured supposed eyewitness identifications of Plaintiff, which

they knew to be false and unreliable, using unduly suggestive procedures. Despite this,

Defendants caused these false identifications to be used during Plaintiff’s criminal trial.

       144.    The Defendants’ misconduct resulted in the unjust and wrongful criminal

prosecution and conviction of Plaintiff and the deprivation of Plaintiff’s liberty, thereby

denying his constitutional right to a fair trial guaranteed by the Fourteenth Amendment. Absent

this misconduct, the prosecution of Plaintiff could not have and would not have been pursued.

       145.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       146.    As a result of the Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, forced and involuntary prison labor, and other grievous and continuing

injuries and damages as set forth above.

       147.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count V.

                                         COUNT II
              42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Detention
                           (Fourth and Fourteenth Amendments)

       148.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       149.    In the manner described above, the Defendants individually, jointly, and in

conspiracy with one another, as well as under color of law and within the scope of their



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employment, accused Plaintiff of criminal activity and exerted influence to initiate, continue,

and perpetuate judicial proceedings against Plaintiff without any probable cause for doing so

and in spite of the fact that they knew Plaintiff was innocent, in violation of his rights secured

by the Fourth and Fourteenth Amendments.

       150.    In so doing, these Defendants maliciously prosecuted Plaintiff and caused

Plaintiff to be deprived of his liberty without probable cause and to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       151.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

       152.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

       153.    The misconduct described in this Count by the Defendants was undertaken

pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count V.

                                           COUNT III
                             42 U.S.C. § 1983 – Failure to Intervene

       154.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       155.    In the manner described above, during the constitutional violations described

herein, one or more of the Defendants stood by without intervening to prevent the violation of

Plaintiff’s constitutional rights, even though they had the duty and the opportunity to do so.

       156.    These Defendants had ample, reasonable opportunities as well as the duty to

prevent this harm but failed to do so.


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        157.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

        158.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

        159.    The misconduct described in this Count by the Defendants was undertaken

pursuant to the policies and practices of the City of Chicago and the Chicago Police

Department, in the manner more fully described below in Count V.

                                        COUNT IV
                42 U.S.C. § 1983 – Conspiracy to Violate Constitutional Rights

        160.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        161.    In the manner described more fully above, the Defendants, acting in concert

with other co-conspirators, known and unknown, reached an agreement among themselves to

fabricate evidence, suppress evidence, and coerce identifications to detain, prosecute, and

convict Plaintiff, without regard for Plaintiff’s guilt or innocence, and thereby to deprive him of

his constitutional rights.

        162.    In so doing, these co-conspirators agreed to accomplish an unlawful purpose by

an unlawful means. In addition, these co-conspirators agreed among themselves to protect one

another from liability for depriving Plaintiff of these rights.

        163.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

        164.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.




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       165.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

       166.    The misconduct described in this Count was undertaken pursuant to the policies

and practices of the City of Chicago and the Chicago Police Department, in the manner more

fully described below in Count V.

                                         COUNT V
          42 U.S.C. § 1983 – Policy and Practice Claim against the City of Chicago

       167.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       168.    As described in detail above, the City of Chicago is liable for the violation of

Plaintiff’s constitutional rights because Plaintiff’s injuries were caused by the policies,

practices, and customs of the City of Chicago, as well as by the actions of policy-making

officials for the City of Chicago.

       169.    At all times relevant to the events described in this complaint and for a period of

time prior and subsequent thereto, the City of Chicago failed to promulgate proper or adequate

rules, regulations, policies, and procedures for: conducting photographic and live lineup

procedures by officers and agents of the Chicago Police Department and City of Chicago; the

conduct of interrogations and questioning of criminal suspects; the collection, documentation,

preservation, testing, and disclosure of evidence; the writing of police reports and taking of

investigative notes; obtaining statements and testimony from witnesses; and maintenance of

investigative files and disclosure of those files in criminal proceedings. In addition or

alternatively, the City of Chicago failed to promulgate proper and adequate rules, regulations,

policies, and procedures for the training and supervision of officers and agents of the Chicago

Police Department and the City of Chicago, with respect to these subjects.


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       170.    These failures to promulgate proper or adequate rules, regulations, policies, and

procedures were committed by officers and agents of the Chicago Police Department and the

City of Chicago, including the Defendants.

       171.    In addition, at all times relevant to the events described in this complaint and for

a period of time prior thereto, the City of Chicago had notice of a widespread practice and

custom by officers and agents of the Chicago Police Department and the City of Chicago under

which individuals suspected of criminal activity, such as Plaintiff, were routinely deprived of

their right to due process. For instance, it was common that suspects were prosecuted based on

fabricated evidence, including fabricated eyewitness identifications and eyewitness

identifications obtained using manipulated photographic or live lineup procedures.

       172.    Specifically, at all relevant times and for a period of time prior thereto, there

existed a widespread practice and custom among officers, employees, and agents of the City of

Chicago, under which criminal suspects were which criminal suspects were coerced to

involuntarily implicate themselves by various means, including but not limited to one or more

of the following: (1) individuals were subjected to unreasonably long and uninterrupted

interrogations, often lasting for many hours and even days; (2) individuals were subjected to

actual and threatened physical or psychological violence; (3) individuals were interrogated at

length without proper protection of their constitutional right to remain silent; (4) individuals

were forced to sign or assent to oral and written statements fabricated by the police; (5) officers

and employees were permitted to lead or participate in interrogations without proper training

and without knowledge of the safeguards necessary to ensure that individuals were not

subjected to abusive conditions and did not confess involuntarily and/or falsely; and (6)

supervisors with knowledge of permissible and impermissible interrogation techniques did not



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properly supervise or discipline police officers and employees such that the coercive

interrogations continued unchecked.

       173.    In addition, at all times relevant to the events described in this complaint and for

a period of time prior thereto, the City of Chicago had notice of widespread practices by

officers and agents of the Chicago Police Department and the City of Chicago, which included

one or more of the following: (1) officers did not record investigative information in police

reports, did not maintain proper investigative files, or did not disclose investigative materials to

prosecutors and criminal defendants; (2) officers falsified statements and testimony of

witnesses; (3) officers fabricated false evidence implicating criminal defendants in criminal

conduct; (4) officers failed to maintain or preserve evidence or destroyed evidence; and (5)

officers pursued wrongful convictions through profoundly flawed investigations.

       174.    These widespread practices, individually and together, were allowed to flourish

because the leaders, supervisors, and policymakers of the City of Chicago directly encouraged

and were thereby the moving force behind the very type of misconduct at issue by failing to

adequately train, supervise, and control their officers, agents, and employees on proper

interrogation techniques and by failing to adequately punish and discipline prior instances of

similar misconduct, thus directly encouraging future abuses such as those affecting Plaintiff.

       175.    The above widespread practices and customs, so well settled as to constitute de

facto policies of the City of Chicago, were able to exist and thrive, individually and together,

because policymakers with authority over the same exhibited deliberate indifference to the

problem, thereby effectively ratifying it.

       176.    As a result of the policies and practices of the City of Chicago, numerous

individuals have been wrongly convicted of crimes that they did not commit.



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       177.    In addition, the misconduct described in this Count was undertaken pursuant to

the policies and practices of the City of Chicago in that the constitutional violations committed

against Plaintiff were committed with the knowledge or approval of persons with final

policymaking authority for the City of Chicago or were actually committed by persons with

such final policymaking authority.

       178.    Plaintiff’s injuries were directly and proximately caused by officers, agents, and

employees of the City of Chicago, including but not limited to the individually named

Defendants, who acted pursuant to one or more of the policies, practices, and customs set forth

above in engaging in the misconduct described in this Count.

                                         COUNT VI
                           State Law Claim – Malicious Prosecution

       179.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

       180.    In the manner described above, the Defendants individually, jointly, and in

conspiracy with one another, as well as within the scope of their employment, accused Plaintiff

of criminal activity and exerted influence to initiate and to continue and perpetuate judicial

proceedings against Plaintiff without any probable cause for doing so.

       181.    In so doing, these Defendants caused Plaintiff to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       182.    The judicial proceedings were terminated in Plaintiff’s favor and in a manner

indicative of his innocence when his conviction was vacated and charges against him were

dropped in August 2022.




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        183.    The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally, with malice, and in total disregard of the truth and Plaintiff’s clear

innocence.

        184.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                        COUNT VII
                 State Law Claim – Intentional Infliction of Emotional Distress

        185.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        186.    The actions, omissions, and conduct of the Defendants as set forth above were

extreme and outrageous. These actions were rooted in an abuse of power and authority and

were undertaken with the intent to cause, or were in reckless disregard of the probability that

their conduct would cause, severe emotional distress to Plaintiff, as is more fully alleged above.

        187.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                        COUNT VIII
                        State Law Claim – Willful and Wanton Conduct

        188.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        189.    At all times relevant to this complaint the Defendants had a duty to refrain from

willful and wanton conduct.

        190.    Notwithstanding that duty, these Defendants acted willfully and wantonly

through a course of conduct that showed an utter indifference to, or conscious disregard of,

Plaintiff’s rights.



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        191.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.

                                          COUNT IX
                               State Law Claim – Civil Conspiracy

        192.    Plaintiff incorporates each paragraph of this complaint as if fully restated here.

        193.    As described more fully in the preceding paragraphs, the Defendants, acting in

concert with other co-conspirators, known and unknown, reached an agreement among

themselves to frame Plaintiff for a crime he did not commit and conspired by concerted action

to accomplish an unlawful purpose and/or to achieve a lawful purpose by unlawful means. In

addition, these co-conspirators agreed among themselves to protect one another from liability

for depriving Plaintiff of these rights.

        194.    In furtherance of their conspiracy, each of these co-conspirators committed overt

acts and were otherwise willful participants in joint activity.

        195.    The violations of Illinois law described in this complaint, including Defendants’

malicious prosecution of Plaintiff and their intentional infliction of emotional distress, were

accomplished by Defendants’ conspiracy.

        196.    The misconduct described in this Count was objectively unreasonable, was

undertaken intentionally, and in total disregard of the truth and Plaintiff’s clear innocence.

        197.    As a result of these Defendants’ misconduct described in this Count, Plaintiff

suffered loss of liberty, great mental anguish, humiliation, degradation, physical and emotional

pain and suffering, and other grievous and continuing injuries and damages as set forth above.




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                                           COUNT X
                              State Law Claim – Respondeat Superior

          198.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          199.   While committing the misconduct alleged in the preceding paragraphs, the

Defendants were employees, members, and agents of the City of Chicago, acting at all relevant

times within the scope of their employment.

          200.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                                           COUNT XI
                                State Law Claim - Indemnification

          201.   Plaintiff incorporates each paragraph of this complaint as if fully restated here.

          202.   Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

          203.   The Police Officer Defendants were employees, members, and agents of

Defendant City of Chicago, acting at all relevant times within the scope of their employment in

committing the misconduct described herein.

          204.   Defendant City of Chicago is responsible to pay any judgment entered against

the Defendants.

          WHEREFORE, Plaintiff GAMALIER RIVERA, respectfully requests that this Court

enter a judgment in his favor and against Defendants REYNALDO GUEVARA, GERI LYNN

YANOW, as special administrator of the ESTATE OF ERNEST HALVORSEN, ANTHONY

RICCIO, ROBERT BIEBEL, and the CITY OF CHICAGO, awarding compensatory damages,




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attorneys’ fees, and costs against each Defendant, punitive damages against each of the

Individual Defendants, and any other relief that this Court deems just and appropriate.

                                         JURY DEMAND

       Plaintiff, GAMALIER RIVERA, hereby demands a trial by jury pursuant to Federal Rule

of Civil Procedure 38(b) on all issues so triable.

                                                      GAMALIER RIVERA

                                               BY:    s/ Annie Prossnitz

                                                      One of Plaintiff’s Attorneys


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